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                             EXHIBIT

                                  D
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RR8000-HDD TRAY ISSUE
Short term / Long term solution
                                                                                     LEI 000155
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 Outline
•Short term solution
•Long term solution (update before this Friday)




                                                                                                                  LEI 000156

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Short term solution




                                                                                LEI 000157
 Short term   solution:
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 ME first round solution 2019/9/20

                                                                                                                  HDD tray inside: Adding
                                                                                                                  rubers *4 on top & bottom
                                                                                                                  of inside tray.




                                                                                                                                  LEI 000158

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 ME first round solution 2019/9/20

         HDD tray outside: Adding mylar on top of tray (outside) and
         mylar *2 on left & right side (outside) .




                                                                                                                  LEI 000159

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 Room Temp. Test Tools: Burn in Test (Stress)
   We putted the system in the box without air flow to simulate the
   bus situation.
                                                                                              Test point          Temp.
                                                                                              Point 1 Handle      58.5℃

                                                                                              Point 2 Mylar       41.0℃




                                                                                                                          LEI 000160

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 70℃ test result (Burn in-test 3 hr)
   We putted the system in chamber (70℃/3 hr).

       Test point                                         Temp.

       Point 1 Handle                                     83℃

       Point 2 Mylar                                      72.8℃




                                                                                                                  LEI 000161

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 2019/9/23 meeting
 1. The simulation result on 9/20’s suggestion is failed to meet
    high temp protection (still very hot).
 2. Adopting ME Second round solution in next slide shown.
          Considering to the current mechanical architecture
            design, the best can do will be adding rubber on
            handle and front panel (shown in yellow pad)




                                                                                                                  LEI 000162

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 Short term
          Casesolution:
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 ME Second round solution 2019/9/23
 • Adding rubber on the Handle & Adding rubber in front of the
   panel (outside/ yellow part).
 • 9/25 will acquire the rubber → ME will implement the
   solution → RA will implement the burn in test 65 ℃ & Room
   temp




                                                                                                                  LEI 000163

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 Caution label solution 2019/9/23




                                                                                                                  LEI 000164

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Long term solution




                                                                                 LEI 000165
 Long termCasesolution:
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 ME Second round solution 2019/9/27
 1. Enlarge the storage size and system chassis size for more
    area to support rubber to be covered on whole storage
    canister.
 2. Drawing will be updated.




                                                                                                                  LEI 000166

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Thank You

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